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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                ______________________


UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:14:CR:215-2
v.
                                                      HON. GORDON J. QUIST
WILLY TIBBS JACKSON,

            Defendant.
______________________________/

                                              ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed February 19, 2015,

is approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Willy Tibbs Jackson's plea of guilty to Count One of the Indictment is

accepted. Defendant Willy Tibbs Jackson is adjudicated guilty.

       3.      Defendant Willy Tibbs Jackson shall be detained pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: April 3, 2015                                        /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
